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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: October 11, 2019

                                                            ________________________________________
                                                                         TONY M. DAVIS
                                                               UNITED STATES BANKRUPTCY JUDGE
  ______________________________________________________________


                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

   IN RE:                                                  §
                                                           §        CASE NO. 16-10020-TMD
   FPMC AUSTIN REALTY                                      §        (Chapter 11)
   PARTNERS, LP,                                           §
                                                           §
                       Debtor.                             §


       ORDER GRANTING AGREED EXPEDITED MOTION TO (I) VACATE ORDER AND
                            (II) CLOSE THE CASE

              The Court, having considered the Agreed Emergency Motion to (i) Abate Order Ruling

   and Abating in Part Show Cause Proceeding and (ii) Close the Case (the “Motion”);1 and

   having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

   §§ 157 and 1334; and consideration of the Motion and the relief requested therein being a core

   proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

   28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided




   1
       Capitalized terms not defined herein shall have the meanings given to them in the Motion.
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   under the circumstances; and it appearing that no other or further notice need be provided; and

   the Court having determined that the legal and factual grounds set forth in the Motion, and the

   record of proceedings in this matter, establish just cause for the relief granted herein; among

   other reasons, the Third Show Cause Order has no precedential value and the settlement is

   conditioned upon vacatur, and any objections to the relief sought herein having been withdrawn

   or overruled; and after due deliberation and sufficient cause appearing therefor:

          IT IS ORDERED that, upon satisfaction of the Conditions Precedent set forth in the

   Global Settlement, the Motion is granted in its entirety;

          IT IS FURTHER ORDERED that, upon satisfaction of the Conditions Precedent set

   forth in the Global Settlement, the obligations of the parties under the Third Show Cause Order

   have been subsumed by the Global Settlement and so the Third Show Cause Order should be

   vacated in its entirety and that neither Party shall have any obligations thereunder;

          IT IS FURTHER ORDERED that, the Case is hereby closed, but may be reopened by

   motion if the Conditions Precedent set forth in the Global Settlement are not satisfied;

          IT IS FURTHER ORDERED that if the Conditions Precedent set forth in Global

   Settlement are not timely satisfied, this Order shall be void and shall have no further effect.

          IT IS FURTHER ORDERED that this Court shall have jurisdiction over any and all

   disputes arising under this Order.

                                                   ###
